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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

DEBRA A. SMITH

c/o John P.M. Rutan, Esq, :

336 S. High Street : CASE NO
Columbus, OH 43215 :

Plaintiffs, : JUDGE
V.

GALLIA COUNTY JAIL
18 Locust Street
Gallipolis, OH 45631

and

GALLIA COUNTY SHERIFFS OFFICE :
18 Locust Street :
Gallipolis, OH 45631

and

MATT CHAMPLIN, SHERIFF
c/o Gallia County Jail

18 Locust Street

Gallipolis, OH 45631

and

SHERIFF’S OFFICE CHIEF DEPUTY
TROY JOHNSON

c/o Gallia County Jail

18 Locust Street

Gallipolis, OH 45631

and

JOHN DOE 1-10, JANE DOE 1-10

any correction officer or officer or
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employee or agent of State of Ohio or
Gallia County Jail Institute or

other entities that were

deliberately indifferent

to Debra A. Smith

Names and Addresses Unknown

 

Defendants.
I. INTRODUCTION
1. This is a civil rights action filed by Debra Smith, individually, pursuant

to 42U.S.C. § 1983 and challenges Defendants failure to provide adequate safety to Debra

Smith while employed at Gallia County Jail. This is also an action for deliberate indifference
pursuant to the 8th Amendment of the United States Constitution. Plaintiff also alleges violations
of the 5th Amendment to the Constitution incorporated and applied to the states through the
Fourteenth Amendment. Defendants failed to provide the appropriate safety as established by the
institutions policy in requiring at least one male and one female staff member to be on duty at all
times when the jail has both male and female inmates. The Defendants also failed to comply with
their certification issued by the Ohio Bureau of Adult Detention by having an overpopulated jail.
Defendants failure to provide Debra Smith with the appropriate constitutional protections

proximately caused the Plaintiff severe pain and suffering among other damages.

Il. JURISDICTION
2 Jurisdiction over claims brought under the Civil Rights Act of 1871 is conferred on
this Court by 28 U.S.C. §§ 1331, 1343 (3) and (4). Jurisdiction over the state law claims is

conferred by 28 U.S.C. § 1367. Venue is proper in this division.
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Ill. PARTIES

a: Plaintiff DEBRA SMITH (Plaintiff) was employed as a correctional officer at
Gallia County Jail. Debra Smith began working at Gallia County Jail fulltime on or about the 14"
day of December 2015.

4. Defendant GALLIA COUNTY SHERIFF’S OFFICE (“GCSO”) is an agency of
the state of Ohio responsible for the administration of jail located at 18 Locust Street Gallipolis,
OH 45631. Defendant is a “person” under 42 U.S.C. § 1983 and at all times relevant to this case
acted under color of law.

5. Defendant GALLIA COUNTY JAIL (“GCJ”) is an agency of the state of Ohio
responsible for the administration of jail located at 18 Locust Street Gallipolis, OH 45631.
Defendant is a “person” under 42 U.S.C. § 1983 and at all times relevant to this case acted under
color of law.

6. Defendant Sheriff, MATT CHAMPLIN is and was at all times relevant to this
action the Sheriff of GCSO. Defendant is a “person” under 42 U.S.C. § 1983 and at all times
relevant to this case acted under color of law. He is sued in his official capacity.

ve Defendant Chief Deputy TROY JOHNSON is an employee of GCSO. Defendant
is a “person” under 42 U.S.C. § 1983 and at all times relevant to this case acted under color of law.
He is sued in his official capacity.

8. Defendants John Doe #1-10, and Jane Doe #1-10, names and addresses unknown, were
correction officers, guards, officers, employees of Defendants, or other entities that provided
deliberately indifferent care/protection, individually or by and through their employees and/or
agents, actual or ostensible, to Debra Smith. Plaintiff has been unable to identify the names and/or

identities of Defendants John Jane Doe #1-10 through the exercise of reasonable diligence.
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Plaintiff reserves the right to substitute a named defendant for such John Jane Doe(s) upon

discovery of the name and/or identity of any such individual(s).

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IV. FACTS
At all relevant times hereto, the Plaintiff was an employee at GCSO.
As an employee of GCSO, Plaintiff was in the care, custody, and control of
Defendants.
Plaintiff began working fulltime at GCSO as a correction officer back on December
14, 2015.
Sometime in May of 2017, the policy at GCSO was updated to protect female
employees and provided the following provision. Exhibit “1”

a. “When both males and females are housed in the jail at least one male and
one female staff member shall be on duty at all times.”

During Plaintiffs employment, she became aware of the policy attached hereto as
Exhibit “1”. This was a policy to protect female corrections offices against the
potential threat of violent male criminals.

Despite this policy, throughout Plaintiffs employment, there were several occasions
only the Plaintiff and another female correction officer were on duty although there
were male inmates.

Upon information and belief, Plaintiff became aware that GCJ was only rated to house
11 inmates at a time according to Bureau of Adult Detention. Please see Exhibit “2”.
During the course of Plaintiffs employment, there were many days GCJ housed well
more than the amount believed to be permitted (rating) by Ohio Bureau of Adult

Detention causing additional safety concerns for employees of GCSO.
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On or about September 29, 2019, once again the Plaintiff was required to be on duty at
GCSO with only one other female correction officer although there were several male
inmates.

That on or about September 29, 2019 GCJ housed well over 11 inmates.

That on or about September 29, 2019 GCJ housed around 40 inmates, majority male.

On or about the 29"" day of September 2019, while only Plaintiff and another female
correction were on duty, they were taken over by 4 male inmates who escaped using
force.

Those 4 male inmates assaulted both female officers and escaped the jail.

During the escape, one of the inmates held a knife to Plaintiff’s neck.

During the escape, the Plaintiff suffered serious physical and mental injuries due to the
inmate’s attack.

As a proximate result of the attack by the inmates, Plaintiff has suffered serious
physical and mental injuries.

The conduct of Defendants was negligent, knowing, intentional, reckless, wanton, and
deliberately indifferent to the serious safety needs of Debra Smith and other employees.
Defendants Matt Champlin, Troy Johnson and John Does #1-10 and Jane Does #1-10
were deliberately indifferent to the serious safety needs of the Plaintiff by failing to
adhere to a company policy intended to keep female employees safe from male inmates.
Defendants Matt Champlin, Troy Johnson and John Does #1-10 and Jane Does #1-10
were deliberately indifferent to the serious safety needs of the Plaintiff by failing to
adhere to the Bureau of Adult Detention rating of housing no more than 11 inmates at

one time.
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At all times, relevant to this case, Defendant Matt Champlin was the policymaker for
GCSO with respect to requiring at least one male and one female staff member to be
on duty when the jail housed both male and female inmates.

On information and belief, and at all times relevant to this case, Chief Deputy Troy
Johnson when asked to implement the policy by mandating a patrol officer to work the
jail when only women was on duty, intentionally and recklessly ignored such request
in deliberate indifference to the safety needs of Debra Smith and other staff at GCSO.
At all times relevant to this case, Defendants GCSO were also policymakers for the
GCSO with respect to employee safety.

At all times relevant to this case, Defendants GCSO, MATT CHAMPLIN and TROY
JOHNSON were joint participants with respect to establishing policy, practice,
procedures, customs, and usages regarding safety of employees and inmates.

The failure to have Plaintiff accompanied by a male officer while on duty when the jail
not only housed males, but was overpopulated was negligent, knowing, intentional,
reckless, wanton, and deliberately indifferent to the safety needs of Debra Smith and
other female employees.

Upon information and belief, Defendants had policies, practices, customs, and usages
that caused female employees to be subject to greater risk of serious harm. Such
policies were the moving force behind the injuries suffered by Debra Smith in this case.
By not following written policies, Defendants were deliberately indifferent to the

serious safety needs of the Plaintiff and other female employees.
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All Defendants’ failures were negligent, reckless, knowing, intentional, willful,
wanton, and deliberately indifferent, and all in contravention of the applicable standard
of care and protection for female employees.

Defendants were also deliberately indifferent to the serious safety needs of Debra Smith
despite written policies and ratings by the Bureau of Adult Detention.

Matt Champlin was deliberately indifferent to the serious safety needs of Debra Smith
by failing to train and supervise staff and implement jail policies, practices, customs,
and usages that adequately addressed the obvious known safety risks to female
employees when dealing with male inmates.

Troy Johnson was deliberately indifferent to the serious safety needs of Debra Smith
by failing to train and supervise staff and implement jail policies, practices, customs,
and usages that adequately addressed the obvious known safety risks to female
employees when dealing with male inmates.

Plaintiff alleges that Sheriff Matt Champlin was deliberately indifferent to Debra
Smith's obvious need for protection from inmates by being indifferent to the policy of
the jail to require all female officers to be accompanied by a male officer when the jail

houses male inmates.

. Further, plaintiff alleges that Defendants acts or omissions by failing to adhere to the

jail policies and/or rating by the Bureau of Adult Detention as to how many inmates
were permitted to be housed at GCJ lead to the continuation of this known problem.
As a direct and proximate result of Defendants’ actions, Debra Smith experienced pain,

emotional distress, loss of earnings, and suffering that is continuing in nature.
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V. FIRST CAUSE OF ACTION - 42. U.S.C. §1983
Plaintiffs incorporate by reference Paragraphs 1-40 as if fully rewritten herein.
The Defendants have, under color of state law, deprived Debra Smith of rights,
privileges and immunities secured by the Fourteenth and Eighth Amendments to the
U.S. Constitution, including but not limited to the right to adequate protection as an a
female employee working in a male jail with a right to be free of cruel and unusual
punishment.
Defendants GCSO, MATT CHAMPLIN and TROY JOHNSON were each deliberately
indifferent to Plaintiffs serious safety needs by not following GCSO policy. Each knew
that Debra Smith was a female officer and deserved greater protection in light of the
environment. Each failed to provide the needed safety protection to Debra Smith.
Defendants failed to adequately train and supervise the corrections officers, deputies
and staff to protect female employees including Debra Smith.
The rules, regulations, customs, policies, procedures, and usages of regarding such
were inadequate and unreasonable and were the moving force behind the constitutional
deprivations suffered by Debra Smith.
Plaintiff alleges that the Defendants violated Debra Smith's constitutional rights by:
(1) failing to properly supervise employees; (2) failing to properly train employees:
(3) failing to abided by the policy of having a female officer work with a male officer
when male inmates were present and (4) failing to implement measures, after having
knowledge, to insure the safety of their staff including the women.
That the failure in training and to abided by the policy (Exhibit 1), amounts to
deliberate indifference to the rights of persons employed at GCSO including Debra

Smith.
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VI. SECOND CAUSE OF ACTION — 42. U.S.C. §1983
Plaintiffs incorporate by reference Paragraphs 1-47 as if fully rewritten herein.
The Defendants have, under color of state law, deprived Debra Smith of rights,
privileges and immunities secured by the Fourteenth and Eighth Amendments to the
U.S. Constitution, including but not limited to the right to adequate protection as an a
female employee working in a male jail with a right to be free of cruel and unusual
punishment.
Defendants GCSO, MATT CHAMPLIN and TROY JOHNSON were each deliberately
indifferent to Plaintiffs serious safety needs by allowing more inmates to be housed at
GCJ then rated by the Bureau of Adult Detention.
Defendants failed to adequately train and supervise the corrections officers, deputies
and staff to protect all employees including Debra Smith.
The rules, regulations, customs, policies, procedures, and usages of regarding such
were inadequate and unreasonable and were the moving force behind the constitutional
deprivations suffered by Debra Smith.
Plaintiff alleges that the Defendants violated Debra Smith's constitutional rights by:
(1) failing to properly supervise employees; (2) failing to properly train employees;
(3) failing to abided by the Bureau of Adult Detention rating of permitting no more
than 11 inmates at one time and permitting an overpopulated jail and (4) failing to
implement measures, after having knowledge, to insure the safety of their staff
including the women.
That the failure in training and to abided by the Bureau Adult Detention ratings
(Exhibit 2) amounts to deliberate indifference to the rights of persons employed at

GCSO including Debra Smith.
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Vil. THIRD CAUSE OF ACTION — NEGLIGENCE
Plaintiffs incorporate by reference Paragraphs 1-54 as if fully rewritten herein.
Defendants, individually or by and through actual or ostensible employees or agents,
were professionally negligent and fell below accepted standards of safety care.
Defendants, individually or by and through actual or ostensible employees or agents,
failed to exercise the degree of care of reasonably skillful, prudent, and careful Sheriff
office would under the same or similar circumstances by, among other things, by failing
to comply with the Bureau of Adult Detention rating of 11 inmates and failing to adhere
to company policy by requiring a female officer to be accompanied with a male officer
when the jail housed male inmates.
At GCSO, acting Sheriff, Matt Champlin failed to ensure that adequate policies were
in place at the GCSO to appropriately identify, assist and protect female employees
around male inmates.
At GCSO, acting Sheriff, Matt Champlin and Chief Troy Johnson failed to ensure that
adequate policies were in place at the GCSO to appropriately identify, assist and protect
all employees from an over crowed jail
Defendant Matt Champlin also failed to train and supervise the staff to provide services
consistent with the standard of care for the safety of female deputies. Defendant, Matt
Champlin permitted female correction officers to work without other male corrections
officers in a jail that was overpopulated as to the permitted certification of allowable
inmates.
As a direct and proximate result of the negligence of Defendants, Debra Smith

sustained permanent and severe injuries. Said injuries caused her much pain, suffering,

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and mental anguish, thereby denying her a normal way of life, and resulted in loss of
life expectancy.
As a further direct and proximate result of the negligence of Defendants, the Plaintiff
has incurred hospital, medical, and other related expenses.

Vill. FOURTH CAUSE OF ACTION — RECKLESS CONDUCT
Plaintiffs incorporate by reference Paragraphs 1-63 as if fully rewritten herein.
Defendants acted in a reckless and willful manner and breached their duty to provide
adequate safety and care and to protect the Plaintiff during her employment at GCSO
which proximately caused the aforementioned injuries.

IX. JURY DEMAND

A trial by jury composed of the maximum number of jurors permitted under the law is
hereby demanded.

X. PRAYER FOR RELIEF

Wherefore, Plaintiffs demands and prays that this Honorable Court will:

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Award Plaintiffs compensatory damages in an amount to be shown at trial;
Award Plaintiffs punitive damages in an amount to be shown at trial;
Award Plaintiffs reasonable attorney’s fees, costs, and disbursements;
Grant pre-and post judgment interest;

Grant Plaintiffs such additional relief as the Court deems just and proper.

Respectfully Submitted,

/s/ John P.M. Rutan

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